Case 18-10309-elf        Doc 85    Filed 10/31/18 Entered 10/31/18 12:36:04       Desc Main
                                    Document Page 1 of 1


                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               )    Chapter 7
 In re:                                        )
                                               )
 Brandon Weiss,                                )    Case No. 18-10309-elf
                                               )
                           Debtor.             )
                                               )
                                               )

                                            ORDER

          AND NOW, upon consideration of the Application of the Chapter 7 Trustee to Retain BK

Global Real Estate Services and Coldwell Banker Heathside, to Procure Consented Public Sale

Pursuant to 11 U.S.C. §§327, 328 and 330 it is hereby.

          ORDERED that BK Global Real Estate Services and Coldwell Banker Heathside are

appointed to procure consented public sale. Compensation shall be allowed only after

approval of an Application in procedural conformity with In re: Busy Beaver Building

Centers, Inc., 19 F.3d 33 (3d Cir. 1994).

                                      ~



                                      ______________________________________
        10/31/18
Dated: _________________              ERIC L. FRANK
                                      UNITED STATES BANKRUPTCY JUDGE




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